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Mission Statement
The mission of the West Virginia Coalition Against Domestic Violence (WVCADV) is to
end personal and institutional violence in the lives of people of all genders and ages.
The WVCADV works to transform social, cultural, and political attitudes through public
awareness, policy development, community organizing, education and advocacy in
ways that promote values of respect, mutuality, accountability and non-violence in local,
statewide, national and global communities.



Vision Statement:
WVCADV is founded on the vision and belief that every person has the right to be safe,
empowered, and free from violence and the fear of violence. Central to this belief,
WVCADV seeks to eliminate domestic violence, sexual assault, stalking, dating violence
and human trafficking. Additionally, the agency aims to reduce related social problems,
such as child abuse, substance abuse, sexism, racism, and other forms of oppression.


Principles of Unity
We believe that violence is a societal configuration and not an individual psychological
dysfunction.
We concur that oppressions such as racism, sexism, heterosexism, and classism
contribute to the perpetuation of violence.
We commit ourselves to the work of building a non-profit coalition among domestic
violence service providers by promoting communication, support, and networking that will
ensure the availability of comprehensive quality services.
We advocate for social change at all levels.
We encourage the development of model programs within the member programs.
We support implementation of projects with regional focus.
We agree that a priority of resources shall be to ensure that victims of domestic violence,



                                                                      Thomas Decl., Ex. 1
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both within and without shelters, shall have access to adequate direct and preventive
services.
We recommend that abusive partners be referred to adequate and appropriate programs.
We recognize the autonomy of local programs.
We agree that WVCADV and its member programs shall not discriminate against any
person on the basis of race, color, gender, religion, sexual identity, national origin,
handicap, age, marital status, or any other basis prohibited by law.
We agree that WVCADV will participate in national and regional organizations committed
to the prevention of violence against women.
We agree that WVCADV is committed to eliminating racism, homophobia, transphobia,
sexism, ableism and all other forms of oppression. We understand that this is a limitless
process, which requires ongoing openness, diligence and work. We believe that any form
of oppression enables domestic violence, sexual assault, stalking, dating violence and
human trafficking, and therefore efforts to end these victimizations must include an anti-
oppression agenda.



Corporate Positions
      WVCADV adheres to the Civil Rights Acts Amendments and supports public
      policy that assures the basic human rights of all individuals regardless of gender,
      race, religion, sexual orientation, ethnicity, physical disability as included in the
      ADA and that protects them from crime motivated by hate.



      Because WVCADV believes in the empowerment of women and their right to
      make informed choices, WVCADV supports policy that allows women to make
      decisions regarding all aspects of their live free from government intervention.



      WVCADV opposes the death penalty and affirms more civilized sentencing
      options of accountability and justice.




                                                                      Thomas Decl., Ex. 1
